Case 3:12-cv-07758-GC-LHG Document 308 Filed 05/03/22 Page 1 of 2 PageID: 16468




 BERGER MONTAGUE PC
 Sherrie R. Savett
 Joy P. Clairmont
 Michael T. Fantini
 William H. Ellerbe
 1818 Market Street, Suite 3600
 Philadelphia, PA 19103
 Tel.: (215) 875-4844
 Fax: (215) 875-4604
 E-Mail: wellerbe@bm.net

 Attorneys for Relators

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                       Civil Action No. 3:12-cv-07758-MAS-LHG
  UNITED STATES OF AMERICA, et al.,
  EX REL. JESSICA PENELOW and
                                                      REQUEST BY LOCAL COUNSEL FOR
  CHRISTINE BRANCACCIO,
                                                      PRO HAC VICE ATTORNEY TO
                                                      RECEIVE ELECTRONIC
                           Plaintiffs,
                                                      NOTIFICATION
           v.

  JANSSEN PRODUCTS, LP,

                           Defendant.


        Request is hereby made by local counsel for pro hac vice counsel to receive electronic

 notifications in the within matter, and it is represented that:

        1. An order of the Court granting a motion to appear pro hac vice in the within matter
           has been entered; and

        2. If admission was granted after March 22, 2005, the Admission Fee, in the amount of
           $150, pursuant to L Civ. R. 101.1(c)(3), has been paid to the Clerk of the Court.




                                                        ________________________________
                                                        WILLIAM H. ELLERBE
        Dated: May 3, 2022
Case 3:12-cv-07758-GC-LHG Document 308 Filed 05/03/22 Page 2 of 2 PageID: 16469




       PRO HAC VICE ATTORNEY INFORMATION:

       Name:       Allison N. Cook
       Address:    Reese Marketos LLP
                   750 N. St. Paul Street
                    Dallas, TX 75201
       E-mail:     allison.cook@rm-firm.com
